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                                Prairtifr(s),                                    Cf,;ASS   .EE(N C[ylt       RIGIIXS   Cr}ffANT


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Director cf tle Jctrn H. Strcger ttspital,                                 )       Magistrate Judge Sheila M. Finnegan
                                                                           )
                                Efendant(s).                               )



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ffi, cf Ue state d Iltinois, City of Ctflqp ard 6nty                             cf &d<

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              Case: 1:14-cv-05548 Document #: 1 Filed: 07/21/14 Page 7 of 7 PageID #:7




    E)      Ttat this cnllrb appoint, ?r;lified @mel to       ryreurt plairrtiff     ard class ard cErtify a Class

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